 Case 5:19-cv-00403-JWH-AGR Document 63 Filed 04/02/24 Page 1 of 2 Page ID #:4812



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 8                      UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
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11   RYAN EDWARD RUDE,                )    NO. 5:19-cv-403-JWH (AGR)
                                      )
12                  Petitioner,       )
                                      )    JUDGMENT
13      v.                            )
                                      )
14   HUNTER ANGLEA, Warden,           )
                                      )
15                  Respondent.       )
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